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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

FRED WATSON,                                    )
                                                )
             Plaintiff,                         )
                                                )
      v.                                        )            No. 4:17CV2187 JCH
                                                )
CITY OF FERGUSON, MISSOURI, et al.,             )
                                                )
             Defendants.                        )


                                           ORDER

      IT IS HEREBY ORDERED that the following schedule shall apply in this case:

      A.     Any motions to dismiss, motions for summary judgment, motions for judgment
             on the pleadings or, if applicable, motions to exclude testimony pursuant to
             Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993) or Kuhmo
             Tire Co. Ltd v. Carmichael, 526 U.S. 137 (1999), must be filed no later than
             November 22, 2021. Any response shall be filed no later than January 7, 2022.
             Any reply shall be filed no later than January 28, 2022.

      B.     This action is set for a JURY trial on Tuesday, July 5, 2022, at 9 a.m. Parties
             should be prepared to select a jury prior to the trial date if called upon to do
             so by the Court.

               Pursuant to Local Rule 8.04 the court may tax against one or all parties the per
      diem, mileage, and other expenses of providing a jury for the parties, when the case is
      terminated or settled by the parties at a time too late to cancel the jury attendance or to
      use the summoned jurors in another trial, unless good cause for the delayed termination
      or settlement is shown.

              In this case, unless otherwise ordered by the Court, the attorneys shall, not
      less than twenty (20) days prior to the date set for trial:

      1.      Stipulation: Meet and jointly prepare and file with the Clerk a JOINT
      Stipulation of all uncontested facts, which may be read into evidence subject to any
      objections of any party set forth in said stipulation (including a brief summary of the case
      which may be used on Voir Dire).

      2.     Witnesses:
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             (a)    Deliver to opposing counsel, and to the Clerk, a list of all proposed
     witnesses, identifying those witnesses who will be called to testify and those who may be
     called.

            (b)     Except for good cause shown, no party will be permitted to call any
     witnesses not listed in compliance with this Order.

     3.     Exhibits:

             (a)     Mark for identification all exhibits to be offered in evidence at the trial
     (Plaintiffs to use Arabic numerals and defendants to use letters, e.g., Pltf-1, Deft.-A, or
     Pltf Jones-1, Deft Smith-A, if there is more than one plaintiff or defendant), and deliver
     to opposing counsel and to the Clerk a list of such exhibits, identifying those that will be
     introduced into evidence and those that may be introduced. The list shall clearly indicate
     for each business record whether the proponent seeks to authenticate the business record
     by affidavit or declaration pursuant to Fed.R.Evid. 902(11) or 902(12).

             (b)     Submit said exhibits or true copies thereof, and copies of all affidavits or
     declarations pursuant to Fed.R.Evid. 902(11)or 902(12), to opposing counsel for
     examination. Prior to trial, the parties shall stipulate which exhibits may be introduced
     without objection or preliminary identification, and shall file written objections to all
     other exhibits.

             (c)    Except for good cause shown, no party will be permitted to offer any
     exhibits not identified or not submitted by said party for examination by opposing
     counsel in compliance with this Order. Any objections not made in writing at least ten
     (10) days prior to trial may be considered waived.

     4.     Depositions, Interrogatory Answers, and Request for Admissions:

             (a)     Deliver to opposing counsel and to the Clerk a list of all interrogatory
     answers or parts thereof and depositions or parts thereof (identified by page and line
     numbers), and answers to requests for admissions proposed to be offered in evidence. At
     least ten (10) days before trial, opposing counsel shall state in writing any objections to
     such testimony and shall identify any additional portions of such depositions not listed by
     the offering party which opposing counsel proposes to offer.

              (b)    Except for good cause shown, no party will be permitted to offer any
     interrogatory answer, or deposition or part thereof, or answer to a request for admissions
     not listed in compliance with this Order. Any objections not made as above required may
     be considered waived.

     5.      Instructions: Submit to the Court and to opposing counsel their written request
     for instructions and forms of verdicts, reserving the right to submit requests for additional
     or modified instructions at least ten (10) days before trial in light of opposing party’s




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       requests for instructions. (Each request must be supported by at least one pertinent
       citation.)

       6.     Trial Brief: Submit to the Court and opposing counsel a trial brief stating the
       legal and factual issues and authorities relied on, and discussing any anticipated
       substantive or procedural problems.

       7.     Motions In Limine: File all motions in limine to exclude evidence, and submit a
       courtesy copy directly to the Court’s chambers, at least ten (10) days before trial.

       Failure to comply with any part of this order may result in the imposition of sanctions.


Dated this 14th Day of October, 2021.



                                                 /s/ Jean C. Hamilton
                                                 UNITED STATES DISTRICT JUDGE




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